                                            Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 1 of 33




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                        SAN FRANCISCO DIVISION

                                   7
                                                                                             Case No. 23-mc-80148-PHK
                                   8        In Re Ex Parte Application of
                                                                                             ORDER GRANTING IN PART AND
                                   9        Path Network, Inc., and Tempest Hosting,         DENYING IN PART WITHOUT
                                            LLC,                                             PREJUDICE PATH NETWORK, INC.’S
                                  10                                                         AND TEMPEST HOSTING, LLC’S
                                                           Applicants.                       APPLICATION TO SERVE
                                  11                                                         DISCOVERY ON DISCORD
                                                                                             PURSUANT TO 28 U.S.C. § 1782
                                  12
Northern District of California




                                                                                             Re: Dkt. Nos. 1, 19, 20–22
 United States District Court




                                  13

                                  14

                                  15             Path Network, Inc. (“Path”) and Tempest Hosting, LLC (“Tempest”) (collectively

                                  16   “Applicants”) have filed an ex parte application authorizing service of a subpoena for documents

                                  17   on Discord, Inc. (“Discord”) pursuant to 28 U.S.C. § 1782. [Dkt. 1]. This application is made in

                                  18   connection with an action pending in the Superior Court of Justice in Ontario, Canada (“Canadian

                                  19   Court”).     After considering the instant application, conducting a hearing, and considering

                                  20   supplemental briefing, Applicants’ request is GRANTED-IN-PART and DENIED-IN-PART

                                  21   WITHOUT PREJUDICE.

                                  22                                           BACKGROUND
                                  23   I.        THE PARTIES AND UNDERLYING ALLEGATIONS

                                  24             Path is an Arizona corporation providing data, hosting, and cyber services to subscribers.

                                  25   [Dkt. 1-2 at 2]. 1 Path’s wholly owned subsidiary, Tempest, is an Arizona company providing virtual

                                  26   hosting services specializing in the leasing of services to customers. [Dkt. 1 at 4; Dkt. 1-2 at 2].

                                  27
                                       1
                                  28    For ease of reference, all page numbers cited to docket entries herein refer to the electronic page
                                       number in CM-ECF rather than the document’s internal page number.
                                         Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 2 of 33




                                   1          Applicants aver that Curtis Michael Gervais (“Gervais”), a Canadian citizen, was a Path and

                                   2   Tempest customer in June 2020, and as such he became acquainted with the CEO of Path. [Dkt. 1-

                                   3   2 at 24]. Around approximately July 8, 2021, Path hired Gervais to work as an independent

                                   4   contractor for Tempest. Id. at 25. His work for Tempest continued through various employment

                                   5   roles until eventually Tempest promoted him to CEO in approximately February 2022. Id. at 25–

                                   6   29. On or before June 2022, Gervais allegedly hacked into the internal network of an entity called

                                   7   Game Server Kings (“GSK”), a competitor of Applicants. Id. at 36. The investigation into this

                                   8   activity led Tempest to demote Gervais to COO and he eventually resigned on September 16, 2022.

                                   9   Id. at 37–39, 45–46.

                                  10          Prior to his work for Tempest, in November 2020, Gervais apparently started his own

                                  11   company called Packet Rabbit, Inc. (“PR”), a Canadian corporation providing online virtual hosting

                                  12   services that operates and leases services to customers for a monthly fee. Id. at 24–25. Gervais is
Northern District of California
 United States District Court




                                  13   the sole director and officer of PR. Id.

                                  14          Applicants allege that, as the relationship deteriorated between Tempest and Gervais,

                                  15   Gervais began undertaking actions adverse to Applicants through a variety of means. Id. at 46.

                                  16   Applicants allege that Gervais disclosed Applicants’ confidential information to GSK and third

                                  17   parties, made defamatory comments concerning Applicants, and told third parties of his intentions

                                  18   to harm Applicants. [Dkt. 1-3 at 29]. Applicants allege that Gervais conspired with Rene Roosen,

                                  19   CEO and founder of GSK, to harm Applicants. [Dkt. 1-2 at 11 n.1]. Specifically, Applicants allege

                                  20   that Gervais provided Roosen with confidential and/or false information about Applicants, which

                                  21   Roosen used to convince third parties to terminate their user agreements with Applicants and instead

                                  22   start doing business with GSK. Id. at 42–44, 46–47.

                                  23           Germane to the instant dispute, Gervais and Roosen allegedly utilized Discord’s messaging

                                  24   platform to communicate with each other and further the alleged plans to harm Applicants’ business.

                                  25   Id. at 11 n.1. Furthermore, Gervais and Roosen allegedly utilized various usernames or aliases for

                                  26   Discord accounts, such as “Archetype,” “1500,” “Renual,” and “cmg” as part of their efforts to

                                  27   communicate their plans to harm Applicants. [Dkt. 1-1 at ¶¶ 4–5; Dkt. 1-2 at 53, 56–57].

                                  28   Specifically, the “Archetype” user account allegedly used Discord to communicate with an
                                                                                        2
                                         Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 3 of 33




                                   1   employee of Path to offer to ransom or sell back stolen copies of Applicants’ confidential source

                                   2   code and other confidential information for approximately $800,000. [Dkt. 1-2 at 54–58]. Further,

                                   3   Applicants allege that Gervais used the alias or username “wdmg” for an account on an online forum

                                   4   called LowEndTalk. Id. at 53. Applicants similarly allege that Gervais used an email address

                                   5   deesnutiam@protonmail.com and submitted the username “Dees Nutiam” for a new user account

                                   6   on the Tempest platform after he had separated from the company. Id. at 52.

                                   7          On January 5, 2023, Applicants acted on suspicions that Gervais acted to harm their business

                                   8   using the alias Archetype, resulting in both pre-litigation investigation and the filing of the

                                   9   underlying Canadian lawsuit germane to the instant dispute. Id. at 56.

                                  10   II.    PRE-LITIGATION DISCOVERY AND UNDERLYING CLAIMS

                                  11          On December 21, 2022, Applicants allege they filed a Notice of Action, Motion Record, and

                                  12   Factum (a type of brief or memorandum of law under Canadian procedural rules, see
Northern District of California
 United States District Court




                                  13   https://courtofappealbc.ca/civil-family-law/guidebook-for-appellants/write-your-argument) in the

                                  14   Canadian Court seeking pre-litigation evidence preservation and a general injunction. [Dkt. 1-3 at

                                  15   2]. Applicants allege that on January 9, 2023, the Canadian Court held an ex parte hearing on

                                  16   Applicants’ filings and accepted ex parte briefing regarding issuing pre-litigation orders. Id. at 2–

                                  17   3. The Canadian Court granted Applicants’ request and issued a pre-litigation evidence preservation

                                  18   order; so-called “Anton Piller” Orders; a Stand and Deliver Order; and a general injunctive order.

                                  19   Id. (the “Canadian Court Orders”). Under Canadian law, and in general terms, an Anton Piller Order

                                  20   is a civil case order roughly analogous to an order granting permission for entry to land and

                                  21   inspection (see Fed. R. Civ. P. 34(a)(2)) under which a party is allowed the right to enter a location

                                  22   and seize evidence without advance notice to the party being searched, as part of an effort to reduce

                                  23   the risk of destruction of evidence. [Dkt. 1-2 at 2]. Under Canadian law, and in general terms, a

                                  24   Stand and Deliver Order requires individuals subject to the order to turn over off-site evidence and

                                  25   assets. Id.

                                  26          Applicants allege that the Anton Piller Orders name certain individuals who were allowed

                                  27   to enter Gervais’s home including several lawyers for Applicants and a data forensics expert for the

                                  28   Applicants, specifically Tom Warren (“Warren”). [Dkt. 1-3 at 74]. Germane to the Section 1782
                                                                                         3
                                         Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 4 of 33




                                   1   application at issue here, Warren submitted a declaration in support of Applicants here. [Dkt. 1-2].

                                   2   The Anton Piller Orders require Gervais to “grant access and deliver up to the Authorized Persons”

                                   3   certain evidence set forth in Schedule A to that order. [Dkt. 1-2 at 87]. Schedule A to the Anton

                                   4   Piller Orders specifies that the evidence to be delivered includes “any and all communications,

                                   5   whether in hard copy or electronic form, involving Gervais (including by any alias of Gervais

                                   6   including but not limited to ‘cmg’ . . . ‘Archetype’[])” and “any and all of the following information,

                                   7   electronic data and/or code of the Plaintiffs as advertised for sale or ransom online pursuant to the

                                   8   information of ‘Archetype’ (refer to . . . the Discord message attached as Schedule ‘B’ to this

                                   9   Order)[.]” Id. at 90.

                                  10          Following the execution of the Canadian Court Orders, the persons conducting the searches

                                  11   for evidence delivered to their expert Warren three laptops, two cell phones, two iPads, and

                                  12   numerous credit cards in PR’s name. [Dkt. 1-2 at 2]. Subsequently, Applicants allege Warren asked
Northern District of California
 United States District Court




                                  13   Gervais to “provide access to his devices” and “various local and cloud-based applications / websites

                                  14   within the scope of the Anton Piller Order.” Id. at 59. Applicants aver that “Gervais alleged that

                                  15   he did not know the passwords to the applications / websites because all his log-in credentials were

                                  16   stored on an encrypted password repository known as ‘LastPass.’” Id. Initially, Gervais provided

                                  17   Warren with access to LastPass; however, Gervais allegedly later implemented security measures

                                  18   to protect his computer from unauthorized access. Compare Dkt. 1-2 at 59, with Dkt. 1-2 at 62.

                                  19   Applicants allege that Gervais created risks of evidence tampering of the data and messages in

                                  20   Gervais’s online accounts because the LastPass program restricted access based on the device’s IP

                                  21   address. [Dkt. 1-2 at 62]. Applicants allege that Warren noticed “Gervais was still able to access

                                  22   his Discord account[,]” and when confronted about his ability to access that account, Gervais stated

                                  23   “he could still use Discord because the session had not stopped.” Id. at 65. Applicants aver that

                                  24   “Gervais[’s] information was false - that Mr. Warren had Gervais’[s] computer previously and the

                                  25   Discord session was stopped when Mr. Warren shut down the laptop for [data collection].” Id.

                                  26          On March 9, 2023, Applicants allegedly asserted several claims against Gervais and PR in

                                  27   connection with their alleged unlawful conduct. Id. at 18–79. After filing the Canadian lawsuit, on

                                  28   April 10, 2023, Applicants requested that Discord preserve all messaging data related to Gervais
                                                                                         4
                                         Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 5 of 33




                                   1   and Roosen. [Dkt. 1-1 at ¶ 3]. The following day Discord responded that it would not preserve the

                                   2   requested data unless legally obligated to do so. Id. Subsequently, on May 22, 2023, Applicants

                                   3   filed the instant application seeking to serve Discord a subpoena pursuant to Section 1782 in support

                                   4   of the Canadian litigation. [Dkt. 1]. On August 17, 2023, the Court heard arguments on several

                                   5   issues associated with the instant application. [Dkt. 16]. Afterwards, the parties met and conferred

                                   6   in an effort to reach a resolution on several issues with the instant application. [Dkt. 17]. The Parties

                                   7   reached agreement on one issue. [Dkt. 20]. Additionally, the Parties supplemented their briefing

                                   8   regarding several remaining issues with the instant application. [Dkts. 20–22].

                                   9   III.   PROPOSED SUBPOENA

                                  10          Applicants submitted to the Court their proposed subpoena for documents directed to

                                  11   Discord, which is located in the geographic boundaries of the Northern District of California (as

                                  12   discussed further below). See Dkt. 1-5. With regard to logistics, the proposed subpoena requests
Northern District of California
 United States District Court




                                  13   that Discord produce documents in Los Angeles. Id. at 2. With regard to document categories

                                  14   sought, the proposed subpoena requests that Discord produce “documents, electronically stored

                                  15   information, or objects, and to permit inspection, copying, testing, or sampling of[:]”

                                  16                  (1) All passwords and account data associated with Curtis Gervais,
                                                      including any aliases he used, such as cmg#8239;
                                  17
                                                      (2) All passwords and account data associated with Rene Roosen,
                                  18                  including any aliases he used, such as Renual#7394;
                                  19                  (3) All passwords and account data associated with Archetype#8484;
                                  20                  (4) Roosen, Gervais and Archetype#8484’s login history for any and
                                                      all Discord accounts, including but not limited to cmg#8239,
                                  21                  Renual#7394, and Archetype#8484; and
                                  22                  (5) Any and all messaging data associated with any of Roosen,
                                                      Gervais, or Archetype#8484’s Discord account(s) including
                                  23                  cmg#8239, Renual#7394 and Archetype#8484.
                                  24
                                       Id. at 5. The subpoena names Curtis Gervais and Rene Roosen, as well as the three Discord account
                                  25
                                       usernames, but provides no other identifying information for these individuals or accounts. Id.
                                  26
                                              Following oral argument and supplemental briefing, Applicants and Discord filed a joint
                                  27
                                       stipulation. [Dkt. 20]. In the stipulation, Discord states it would not object to the production of the
                                  28
                                                                                          5
                                         Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 6 of 33




                                   1   following documents, electronically stored information, or tangible things, which includes

                                   2   documents, electronically stored information, or tangible things narrower than Applicants’ proposed

                                   3   subpoena:

                                   4                  1) All account data, not including the contents of electronic
                                                      communications, associated with Curtis Gervais, including any
                                   5                  aliases he used, such as cmg#82391;
                                   6                  2) All account data, not including the contents of electronic
                                                      communications, associated with Rene Roosen, including any aliases
                                   7                  he used, such as Renual#7394;
                                   8                  3) All account data, not including the contents of electronic
                                                      communications, associated with Archetype#8484;
                                   9
                                                      4) Roosen, Gervais and Archetype#8484’s login history for any and
                                  10                  all Discord accounts, including but not limited to cmg#8239,
                                                      Renual#7394, and Archetype#8484; and
                                  11
                                                      5) Any and all headers of messaging data associated with any of
                                  12                  Roosen, Gervais, or Archetype#8484’s Discord account(s) including
Northern District of California




                                                      cmg#8239, Renual#7394 and Archetype#8484.
 United States District Court




                                  13

                                  14   [Dkt. 20 at 2]. Discord further defined certain subpoena terms including:

                                  15                  “Account data” includes a user’s first and last name, email address,
                                                      birthdate, and any other non-content identifying information for a
                                  16                  specific user.
                                  17                  “Header” includes the name and email addresses of the sender,
                                                      recipient, and any copied or blind copied recipients in a particular
                                  18                  Discord message, and the time that message was sent and/or received.
                                  19   Id. In other words, Discord represents that it would not object to searching for and producing

                                  20   documents, electronically stored information, or tangible things sought as defined above. However,

                                  21   Discord does object to searching for and producing any documents, electronically stored

                                  22   information, or tangible things which fall outside the scope defined above but which would be within

                                  23   the broader scope of Applicants’ initial subpoena as originally presented. Id.

                                  24

                                  25                                            DISCUSSION
                                  26   I. JURISDICTION

                                  27          As an initial matter, this Court has jurisdiction to hear and decide this matter because the

                                  28   Applicants and Discord have all consented to Magistrate Judge jurisdiction under 28 U.S.C.
                                                                                        6
                                         Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 7 of 33




                                   1   § 636(c). See CPC Pat. Techs. Pty Ltd. v. Apple, Inc., 34 F.4th 801, 808 (9th Cir. 2022); Williams

                                   2   v. King, 875 F.3d 500, 500 (9th Cir. 2017) (requiring both the Section 1782 applicant and the party

                                   3   from whom discovery is sought to consent to Magistrate Judge jurisdiction); Dkts. 3, 6 (Applicants

                                   4   and Discord consenting to Magistrate Judge jurisdiction). Additionally, this Court exercises federal

                                   5   question jurisdiction over the application for discovery pursuant to Section 1782. In re Application

                                   6   of Grupo Unidos Por El Canal S.A., No. 14-mc-80277-JST (DMR), 2015 WL 1815251, at *4 (N.D.

                                   7   Cal. Apr. 21, 2015).

                                   8   II. APPLICABLE LEGAL STANDARDS

                                   9          Evaluating an application for leave to serve a subpoena under Section 1782 requires a two-

                                  10   part analysis: (1) the statutory requirements and (2) the discretionary requirements. Intel Corp. v.

                                  11   Advanced Micro Devices, Inc., 542 U.S. 241, 264–65 (2004). First with regard to the statutory

                                  12   requirements, Section 1782 authorizes district courts to permit discovery if: (A) the person from
Northern District of California
 United States District Court




                                  13   whom the discovery is sought “resides or is found” in the district of the district court where the

                                  14   application is made; (B) the discovery is “for use in a proceeding in a foreign or international

                                  15   tribunal;” and (C) the application is made by a foreign or international tribunal or “any interested

                                  16   person.” Khrapunov v. Prosyankin, 931 F.3d 922, 925 (9th Cir. 2019).

                                  17          Second with regard to the discretionary factors, the Court considers the following

                                  18   discretionary factors in determining whether to authorize discovery requested under Section 1782:

                                  19   (A) whether the “person from whom discovery is sought is a participant in the foreign proceeding;”

                                  20   (B) “the nature of the foreign tribunal, the character of the proceedings underway abroad, and the

                                  21   receptivity of the foreign government or the court or agency abroad to U.S. federal court judicial

                                  22   assistance;” (C) whether the request “conceals an attempt to circumvent foreign proof-gathering

                                  23   restrictions or other policies of a foreign country or the United States;” and (D) whether the request

                                  24   is “unduly intrusive or burdensome.” Intel, 542 U.S. at 264–65.

                                  25          “A district court’s discretion is to be exercised in view of the twin aims of [Section] 1782:

                                  26   providing efficient assistance to participants in international litigation, and encouraging foreign

                                  27   countries by example to provide similar assistance to our courts.” In re Nat’l Ct. Admin. of the

                                  28   Republic of Korea, No. 15-mc-80069-LB, 2015 WL 1064790, at *2 (N.D. Cal. Mar. 11, 2015).
                                                                                         7
                                         Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 8 of 33




                                   1   Unless the district court orders otherwise, the discovery authorized by the court must be obtained in

                                   2   accordance with the Federal Rules of Civil Procedure. See 28 U.S.C. § 1782(a); In re Tokyo Dist.

                                   3   Prosecutors Off., Tokyo, Japan, 16 F.3d 1016, 1020 (9th Cir. 1994). The party seeking discovery

                                   4   need not establish that the information sought would be discoverable under the foreign court’s law

                                   5   or that the U.S. would permit the discovery in an analogous domestic proceeding. See Intel, 542

                                   6   U.S. at 261–63.

                                   7          A.      Statutory Factors

                                   8                  i.      The Residency of the Discovery Target.

                                   9          Applicants must first demonstrate that the entity from which they seek discovery resides in

                                  10   the geographic boundaries of the court to whom the application is addressed, here the Northern

                                  11   District of California. Khrapunov, 931 F.3d at 925; In re Republic of Ecuador, No. 10-cv-80225,

                                  12   2010 WL 3702427, at *2 (N.D. Cal. Sept. 15, 2010). A business entity’s residency for the purpose
Northern District of California
 United States District Court




                                  13   of Section 1782 is “where the business is incorporated, is headquartered, or where it has a principal

                                  14   place of business.” In re Todo, 2022 WL 4775893, at *2 (N.D. Cal. Sept. 30, 2022) (collecting

                                  15   cases); In re Med. Inc. Ass’n Takeuchi Dental Clinic, 2022 WL 10177653, at *2 (N.D. Cal. Oct. 17,

                                  16   2022) (Google met residency requirement under Section 1782(a) due to headquarters and principal

                                  17   location in Mountain View).

                                  18          Here, Applicants request discovery from Discord. [Dkt. 1-5]. Although Applicants cite the

                                  19   statutory factors, their submissions have provided no factual evidence or material to establish

                                  20   Discord’s residence. [Dkt. 1 at 8–9]. Rather, Applicants conclusorily state, without citation to

                                  21   evidence or any documents in the record, that Discord is headquartered in the Northern District of

                                  22   California. [Dkt. 1 at 9].

                                  23          Nevertheless, the Court has the authority to take Judicial Notice of certain facts under the

                                  24   proper circumstances. See Fed. R. Evid. 201(b)(2) (“The court may judicially notice a fact that is

                                  25   not subject to reasonable dispute because it . . . can be accurately and readily determined from

                                  26   sources whose accuracy cannot reasonably be questioned.”); Minor v. FedEx Office & Print Servs.,

                                  27   78 F. Supp. 3d 1021, 1028 (N.D. Cal. 2015) (taking Judicial Notice of record of administrative

                                  28   agencies and publicly accessible websites).
                                                                                        8
                                         Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 9 of 33




                                   1          Publicly available records from the California Secretary of State and at least one website

                                   2   indicate that Discord has its principal place of business in San Francisco, California, which is located

                                   3   within the Northern District of California.            See bizfile Online, Cal. Sec’y of State,

                                   4   https://bizfileonline.sos.ca.gov/search/business (search for “Discord Inc” or file no. 3472899) (last

                                   5   visited on Nov. 21, 2023) (Discord’s “principal address” is in San Francisco); Discord Company

                                   6   Information - Impressum, https://discord.com/company-information (last visited on Nov. 21, 2023)

                                   7   (same). The Court finds that these online materials are mutually corroborative and sufficiently

                                   8   reliable, and that their accuracy cannot be reasonably questioned. Thus, the residency of Discord is

                                   9   not subject to reasonable dispute, and the Court exercises its authority to take judicial notice of

                                  10   Discord’s principal office under Rule 201.

                                  11          Accordingly, the Court finds that the first statutory requirement of residency is met because

                                  12   Discord’s principal office is in San Francisco. See In re Hattori, No. 21-mc-80236-TSH, 2021 WL
Northern District of California
 United States District Court




                                  13   4804375, at *3 (N.D. Cal. Oct. 14, 2021) (“Applicant’s request satisfies the statutory requirements

                                  14   of [Section] 1782. First, Google can be found in this district because its principal office is located

                                  15   in Mountain View, California.”).

                                  16                  ii.     Discovery Sought Is for Use in a Proceeding in a Foreign Tribunal.

                                  17          Next, Applicants must show the discovery sought is for use in a proceeding before a foreign

                                  18   tribunal. Khrapunov, 931 F.3d at 925. To be “for use” in a foreign proceeding, the information

                                  19   sought must be relevant. Rainsy v. Facebook, Inc., 311 F. Supp. 3d 1101, 1110 (N.D. Cal. 2018).

                                  20   “The party issuing the subpoena has the burden of demonstrating the relevance of the information

                                  21   sought.” Digital Shape Techs., Inc. v. Glassdoor, Inc., No. 16-mc-80150-JSC, 2016 WL 5930275,

                                  22   at *3 (N.D. Cal. Oct. 12, 2016).

                                  23          The Canadian lawsuit is certainly a foreign proceeding. Here, Applicants seek information

                                  24   from Discord in connection with the complained-of activities allegedly committed by Gervais and

                                  25   Roosen, specifically their alleged use of Discord accounts to communicate allegedly harmful

                                  26   information about Applicants and their alleged attempt to ransom stolen proprietary source code.

                                  27   [Dkt. 1-2 at 18–79]. These alleged unlawful activities and communications using Discord form the

                                  28   basis of Applicants’ Canadian lawsuit as summarized above. Id. The discovery sought from
                                                                                          9
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 10 of 33




                                   1   Discord includes information concerning the account logins and passwords for the accused Discord

                                   2   user accounts (i.e., Archetype, Renual, and cmg), as well as login histories and the messages

                                   3   themselves. [Dkt. 1-5]. The discovery is presumably sought in order to determine the connections

                                   4   between Gervais and Roosen to these accounts. This connection would presumably be relevant to

                                   5   the liability issues in the underlying Canadian litigation. If the discovery demonstrates such a

                                   6   connection, then such discovery would impact liability, and if the discovery demonstrates that no

                                   7   such connection exists (for example, if the user accounts were in fact owned and used by unrelated

                                   8   third party actors), then the absence of any such discovery materials also would be relevant to

                                   9   defenses in the Canadian litigation.

                                  10           Further, as Applicants argue, the discovery sought is relevant to carrying out the Canadian

                                  11   Court’s Anton Piller Orders. For example, as discussed above, the Anton Piller Order directed to

                                  12   Gervais requires the delivery of evidence including “any and all communications, whether in hard
Northern District of California
 United States District Court




                                  13   copy or electronic form, involving Gervais (including by any alias of Gervais including but not

                                  14   limited to ‘cmg’ . . . ‘Archetype’ . . .)” and “any and all of the following information, electronic

                                  15   data and/or code of the Plaintiffs as advertised for sale or ransom online pursuant to the information

                                  16   of ‘Archetype’ (refer to . . . the Discord message attached as Schedule ‘B’ to this Order)[.]” [Dkt.

                                  17   1-2 at 90]. The Canadian Court thus specifically ordered the production of evidence of Discord

                                  18   messages from the user accounts identified by Applicants. Id.

                                  19          Accordingly, the Court finds that the discovery sought from Discord is relevant, for the

                                  20   purposes of Section 1782, to the Canadian lawsuit. The second statutory requirement under Section

                                  21   1782 is satisfied.

                                  22                   iii.   Movants Are Interested Persons.

                                  23           Next under Section 1782, Applicants must show they are interested “persons.” Khrapunov,

                                  24   931 F.3d at 925. An interested person under Section 1782 “plainly reaches beyond the universe of

                                  25   persons designated ‘litigant,’” although there is “[n]o doubt [that] litigants are included among, and

                                  26   may be the most common example[.]” Intel, 542 U.S. at 256.

                                  27           Here, Applicants are party litigants in the Canadian lawsuit. See Dkt. 1-2 at 18–79. As

                                  28   litigants in the foreign proceeding, Applicants are prototypical interested persons. Intel, 542 U.S.
                                                                                        10
                                         Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 11 of 33




                                   1   at 256. Accordingly, the Court finds that the third and final statutory factor under Section 1782 is

                                   2   satisfied.

                                   3           In sum, because Applicants have satisfied all three statutory requirements, the Court

                                   4   determines that, as a matter of statutory requirements, discovery relating to the foreign proceeding

                                   5   is authorized under Section 1782. Because the Court has discretion to deny the application, even if

                                   6   the statutory requirements are satisfied, the Court next analyzes the discretionary Intel factors. Intel,

                                   7   542 U.S. at 256.

                                   8           B.      The Court’s Discretion To Authorize The Requested Discovery

                                   9           As discussed above, the discretionary factors under Section 1782 are: (A) whether the

                                  10   “person from whom discovery is sought is a participant in the foreign proceeding;” (B) “the nature

                                  11   of the foreign tribunal, the character of the proceedings underway abroad, and the receptivity of the

                                  12   foreign government or the court or agency abroad to U.S. federal court judicial assistance;” (C)
Northern District of California
 United States District Court




                                  13   whether the request “conceals an attempt to circumvent foreign proof-gathering restrictions or other

                                  14   policies of a foreign country or the United States;” and (D) whether the request is “unduly intrusive

                                  15   or burdensome.” Id. at 264–65. The Court analyzes each discretionary factor in turn.

                                  16                 i. Whether the Person from Whom Discovery Is Sought Is a Party to the

                                  17                      Foreign Proceeding.

                                  18           The first discretionary factor is whether the discovery is appropriate where the target of

                                  19   discovery is a party to the foreign litigation. Id. at 265 “A foreign tribunal has jurisdiction over

                                  20   those appearing before it, and can itself order them to produce evidence.” Id. at 264. However,

                                  21   “nonparticipants in the foreign proceeding may be outside the foreign tribunal’s jurisdictional reach;

                                  22   hence, their evidence, available in the United States, may be unobtainable absent [Section] 1782

                                  23   aid.” Id. As such, the first discretionary factor favors discovery sought from non-parties to the

                                  24   foreign proceeding. Cf. In re Varian Med. Sys. Int’l AG, No. 16-mc-80048-MEJ, 2016 WL 1161568,

                                  25   at *4 (finding that the first Intel factor weighs heavily against seeking discovery from participants

                                  26   in foreign tribunals).

                                  27           Here, Discord is not a party to the Canadian lawsuit and is only a third-party whose

                                  28   messaging platform was allegedly used by Gervais and Roosen to harm Applicants. [Dkt. 1-2 at
                                                                                          11
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 12 of 33




                                   1   18–79]. Accordingly, it appears the Canadian Court lacks authority or jurisdiction to compel

                                   2   discovery from Discord.      Further, efforts to secure voluntary disclosure were unavailing –

                                   3   apparently, Discord refused to preserve messaging data absent court order. [Dkt. 1-1 at ¶ 3].

                                   4   Applicants argue that “[i]f the Court does not grant the instant Application, Path and Tempest will

                                   5   be unable to fully execute the Canadian Court’s Orders and engage in discovery essential to their

                                   6   case[.]” [Dkt. 1 at 2]. The Court finds that this discretionary factor is satisfied, because Discord is

                                   7   not a party to the foreign litigation and the requested discovery has been shown to be unavailable

                                   8   otherwise. Intel, 542 U.S. 241.

                                   9                  ii.     The Nature of the Foreign Tribunal, the Character of the Proceedings

                                  10                          Underway Abroad, and the Receptivity of the Tribunal to U.S. Judicial

                                  11                          Assistance.

                                  12          The second Intel factor weighs in favor of discovery unless the foreign tribunal in question
Northern District of California
 United States District Court




                                  13   has expressly made it clear that it would not accept the evidence. In re Jt. Stock Co. Raiffeinsenbank,

                                  14   2016 WL 6474224, at *5 (N.D. Cal. Nov. 2, 2016) (under this factor, “courts look for authoritative

                                  15   proof that a foreign tribunal would reject evidence obtained with the aid of [Section] 1782.”). A

                                  16   district court’s ability to order discovery under Section 1782 is not predicated on the discoverability

                                  17   or admissibility of the evidence sought in that foreign tribunal. See Intel, 542 U.S. at 260. That is,

                                  18   courts need not explore nor determine whether the information applicants seek is admissible in the

                                  19   foreign jurisdiction. See In re Seoul Dist. Criminal Court, 555 F.2d 270, 723 (9th Cir. 1977).

                                  20   Rather, in the absence of authoritative proof that a foreign tribunal would reject evidence obtained

                                  21   with the aid of Section 1782, this discretionary factor tends to support authorizing the requested

                                  22   discovery. See, e.g., Palantir Techs., Inc. v. Abramowitz, 415 F. Supp. 3d 907, 915 (N.D. Cal. 2019)

                                  23   (citation omitted); In re Med. Corp. H&S, No. 19-mc-80058-VKD, 2019 WL 1230440, at *3 (N.D.

                                  24   Cal. Mar. 15, 2019) (“In the absence of evidence that Japanese courts would object to MCHS’s

                                  25   discovery of the information sought in the subpoena, or that they object more generally to the

                                  26   judicial assistance of U.S. federal courts, the Court concludes that this factor weighs in favor of

                                  27   authorizing service of the subpoena.”).

                                  28          Here, the Canadian Court is the Superior Court of Justice in Ontario. This Court takes
                                                                                         12
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 13 of 33




                                   1   Judicial Notice that, in the Canadian legal system “Superior courts are the highest level of courts in

                                   2   a province or territory. They deal with the most serious criminal and civil cases and have the power

                                   3   to review the decisions of the provincial and territorial courts.” See Government of Canada, The

                                   4   Judicial    Structure     –    How      the     Courts     are    Organized      (Sept.     1,    2021),

                                   5   https://www.justice.gc.ca/eng/csj-sjc/just/07.html (last visited Nov. 21, 2023) (information

                                   6   published by the Canadian government). The Canadian Court is thus apparently analogous to a trial

                                   7   court of general jurisdiction, and is not a specialized agency or limited jurisdiction tribunal. Further,

                                   8   the proceeding abroad is a civil action by Applicants against Gervais and his co-defendants, and that

                                   9   proceeding appears to be on a schedule which is intended to afford Applicants time to seek the

                                  10   discovery herein. Accordingly, the Court concludes that the nature of the Canadian Court is such

                                  11   that it is unlikely to object to judicial assistance from a U.S. District Court, and that the nature of

                                  12   the proceedings abroad favors discretionary authorization of discovery here.
Northern District of California
 United States District Court




                                  13          Further, the record of proceedings from the Canadian litigation indicates that the Canadian

                                  14   Court has taken steps and issued orders to seek, within its own jurisdiction, the type of discovery

                                  15   and information sought here. As noted, the Anton Pillar Orders expressly order the production of

                                  16   information and electronic files relating to the Discord messages and user accounts which are the

                                  17   subjects of the instant request. [Dkt. 1-2 at 90]. In addition, the Canadian Court has extended the

                                  18   Anton Pillar Order two separate times to allow Applicants to try to obtain cloud-related discovery.

                                  19   Id. at 117–122. From the orders and steps taken by the Canadian Court, this Court concludes that

                                  20   the Canadian Court would be receptive to information sought from Discord under Section 1782.

                                  21   There is nothing in the record to imply, much less expressly indicate, that the Canadian Court would

                                  22   reject any evidence produced by Discord in response to a properly issued subpoena under Section

                                  23   1782. Accordingly, the Court finds that the third discretionary factor weighs in favor of discovery.

                                  24                  iii.     Circumvention of the Foreign Court’s Proof-Gathering Restrictions.

                                  25          The third Intel factor considers whether the request “conceals an attempt to circumvent

                                  26   foreign proof-gathering restrictions or other policies of a foreign country or the United States.” Intel,

                                  27   542 U.S. at 264–65.       “A perception that an applicant has ‘side-stepped’ less-than-favorable

                                  28   discovery rules by resorting immediately to [Section] 1782 can be a factor in a court’s analysis.” In
                                                                                          13
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 14 of 33




                                   1   re Cathode Ray Tube Antitrust Litig., No. 07-cv-5944-SC, 2013 WL 183944, at *3 (N.D. Cal. Jan.

                                   2   17, 2013) (citing In re Caratube Int’l Oil Co., 730 F. Supp. 2d 101, 107–08 (D.D.C. 2010)).

                                   3   Additionally, the perception that an applicant has immediately resorted to Section 1782, bypassing

                                   4   the foreign court’s proof-gathering, can weigh against discovery. Id. (citation omitted).

                                   5          On the other hand, absence of evidence of attempted circumvention of the foreign tribunal’s

                                   6   proof-gathering procedures weighs in favor of an application under Section 1782. See, e.g., In re

                                   7   Google, Inc., No. 14-mc-80333-DMR, 2014 WL 7146994, at *2 (N.D. Cal. Dec. 15, 2014); In re

                                   8   Eurasian Nat. Res. Corp. Ltd., No. 18-mc-80041-LB, 2018 WL 1557167, at *3 (N.D. Cal. Mar. 30,

                                   9   2018); In re Honda, No. 21-mc-80167-VKD, 2021 WL 3173210, at *4 (N.D. Cal. July 27, 2021).

                                  10          Here, the record of the proceedings in the Canadian lawsuit demonstrates that Applicants

                                  11   pursued proof-gathering procedures in Canada extensively before filing the instant Application.

                                  12   [Dkt. 1-2 at 18–79]. As summarized above, Applicants sought and were granted multiple Anton
Northern District of California
 United States District Court




                                  13   Pillar Orders, executed on those Orders, followed up with Gervais on the passwords for accounts,

                                  14   obtained extensions of the Anton Pillar Orders from the Canadian Court, and sought voluntary

                                  15   cooperation from Discord. Id. Applicants demonstrated diligence in using the Canadian Court

                                  16   system to try to obtain information about the Discord messages and accounts, both from Gervais

                                  17   and from Discord. Id. Indeed, there is indication in the records provided that Gervais may have

                                  18   taken steps to delay or hinder access to his Discord account by claiming lack of access to his

                                  19   passwords stored in a LastPass account and by claiming lack of access to the email account linked

                                  20   to this LastPass account. Id. at 62–63.

                                  21          Accordingly, the Court concludes that Applicants’ discovery request here is not an improper

                                  22   attempt to undermine the Canadian Court or its policies or proof-gathering restrictions. Therefore,

                                  23   the Court finds that this discretionary factor weighs in favor of discovery.

                                  24                  iv.     Unduly Intrusive or Burdensome Discovery Requests.

                                  25          The final Intel factor addresses the intrusiveness and burden of the proposed discovery

                                  26   requests. Discovery requests are unduly burdensome when they are “not narrowly tailored, request

                                  27   confidential information and appear to be a ‘broad fishing expedition for irrelevant information.’”

                                  28   In re Qualcomm Inc., 162 F. Supp. 3d 1029, 1043 (N.D. Cal. 2016). The “proper scope” of requests
                                                                                        14
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 15 of 33




                                   1   under section 1782 is “generally determined by the Federal Rules of Civil Procedure.” In re Varian

                                   2   Med. Sys. Int’l AG, 2016 WL 1161568 at *5. Thus, under this final discretionary factor, any “unduly

                                   3   intrusive or burdensome requests may be rejected or trimmed.” Intel, 542 U.S. at 246.

                                   4          While the Court finds that all the statutory and the other discretionary factors support

                                   5   authorizing discovery, here the focus is on the proposed discovery and, as noted, whether the

                                   6   proposed requests are impermissibly intrusive or burdensome using the discovery provisions of the

                                   7   Federal Rules of Civil Procedure as guidelines, particularly Rule 45 governing subpoenas.

                                   8          Here, the proposed subpoena fails to comply with the applicable legal standards. First, as

                                   9   discussed above, Applicants’ proposed subpoena, as written, purports to require Discord,

                                  10   headquartered in San Francisco, to produce documents in Los Angeles, California. [Dkt. 1-5].

                                  11   Under Rule 45(c)(2), a subpoena may only command “production of documents, electronically

                                  12   stored information, or tangible things at a place within 100 miles of where the person resides, is
Northern District of California
 United States District Court




                                  13   employed, or regularly transacts business in person[.]” Applicants’ proposed subpoena thus violates

                                  14   the 100-mile restriction on subpoenas duces tecum, because San Francisco is more than 100 miles

                                  15   from   Los    Angeles,    California.     Compare      bizfile   Online,   Cal.   Sec’y   of   State,

                                  16   https://bizfileonline.sos.ca.gov/search/business (search for “Discord Inc” or file no. 3472899) (last

                                  17   visited Nov. 21, 2023) (Discord’s “principal address” is in San Francisco), with Dkt. 1-5 at 2.

                                  18   Instructive on the importance of the geographical limitation in Rule 45(c) is the Ninth Circuit’s

                                  19   recent opinion finding trial subpoenas improper where those subpoenas required witnesses to testify

                                  20   remotely at trial because they were physically more than 100 miles from the location of the

                                  21   proceeding. In re Kirkland, No. 22-70092, -- F.4th --, 2023 WL 4777937, at *6–10 (9th Cir. July

                                  22   27, 2023) (granting writ of mandamus and ordering trial court to quash subpoenas). The Applicants’

                                  23   proposed subpoena to Discord here is analogously improper for requiring production more than 100

                                  24   miles from Discord’s headquarters. See In re Portfolio Recovery Assocs., LLC Tel. Consumer Prot.

                                  25   ACT Litig., No. 11MD2295 JAH (BGS), 2021 WL 5920086, at *3 (S.D. Cal. Dec. 15, 2021).

                                  26          Second, Applicants’ proposed subpoena, particularly the descriptions of categories of

                                  27   documents sought, does not satisfy the applicable legal standards. Discovery requests are intrusive

                                  28   or burdensome where they are overbroad and “not narrowly tailored temporally, geographically or
                                                                                        15
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 16 of 33




                                   1   in their subject matter.” In re Qualcomm Inc., 162 F. Supp. 3d at 1044. Here, as discussed above,

                                   2   the proposed subpoena refers to the names “Curtis Gervais” and “Rene Roosen” and asks for “all

                                   3   passwords and account data associated with” each of them, asks for their “login history for any and

                                   4   all Discord accounts,” and seeks “[a]ny and all messaging data associated with any of Roosen [or]

                                   5   Gervais[.]” [Dkt. 1-5 at 5]. While the requests provide examples of Discord accounts (“such as

                                   6   cmg#8329” or “such as Renual#7394” or “Archetype#8484”), all the requests are expressly not

                                   7   limited to those accounts and fail to provide Discord (the third-party which would be required to

                                   8   understand and search for documents) any other information on who these persons are, what other

                                   9   Discord accounts they may have, and what “any aliases” either of them used. Id.

                                  10          Under Rule 26(b)(1) of the Federal Rules of Civil Procedure, discovery must be

                                  11   “proportional to the needs of the case, considering the importance of the issues at stake in the action,

                                  12   the amount in controversy, the parties’ relative access to relevant information, the parties’ resources,
Northern District of California
 United States District Court




                                  13   the importance of the discovery in resolving the issues, and whether the burden or expense of the

                                  14   proposed discovery outweighs its likely benefit.” As discussed, the proposed subpoena seeks “[a]ll

                                  15   . . . account data associated with” both Gervais and Roosen. [Dkt. 1-5 at 5]. This includes “any

                                  16   aliases,” “login history for any and all Discord accounts,” and “[a]ny and all messaging data

                                  17   associated with any of Roosen [or] Gervais.” Id. Given the lack of reasonable measures to identify

                                  18   Gervais and Roosen with any particularity, the breadth of the proposed subpoena is not proportional

                                  19   to the needs of the case. See Winet v. Arthur J. Gallagher & Co., 2020 WL 6449230, at *2 (S.D.

                                  20   Cal. Nov. 3, 2020) (request for production which sought “all documents” concerning, evidencing,

                                  21   and reflecting sales is overbroad and not proportional to the needs of the case).

                                  22          While Applicants may know who Gervais and Roosen are and how to identify them, that

                                  23   information is notable by its absence from the proposed subpoena. The proposed subpoena has no

                                  24   “definition” section and fails to provide any supplemental or explanatory information about Gervais

                                  25   or Roosen. For example, the proposed subpoena lacks any personally identifying information about

                                  26   these persons, such as their home or correspondence addresses, business addresses, business

                                  27   affiliations, telephone or cellphone numbers, email addresses, or any other collateral data already in

                                  28   Applicants’ possession to substantiate their identities. See Dkt. 1-5 at 2. It is evident from the
                                                                                         16
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 17 of 33




                                   1   materials provided this Court from the Canadian lawsuit that Applicants possess, minimally, at least

                                   2   some ancillary set of information that could facilitate a more precise identification of Gervais and

                                   3   Roosen to avoid burdening Discord in its search for responsive documents.

                                   4          Furthermore, this Court takes Judicial Notice that Discord’s registration panel appears to

                                   5   require the following information to create a user account: an email address; a username; a

                                   6   password; and a date of birth. See Create an Account, https://discord.com/register (last visited Aug.

                                   7   9, 2023). If Applicants have email addresses and/or birth dates for Gervais and Roosen, that

                                   8   information would appear to be helpful in reducing the burden on Discord in its attempts to comply

                                   9   with a subpoena (indeed, Applicants’ application recites multiple email addresses which Applicants

                                  10   believe Gervais has used, and yet inexplicably fails to include those in the subpoena).

                                  11          Additionally, it is unknown how many other persons among Discord’s worldwide customer

                                  12   base have the same or similar names as Gervais and Roosen. Similarly, it is unknown how many
Northern District of California
 United States District Court




                                  13   other users have user account names that are the same as or closely similar to “Archetype,”

                                  14   “Renual,” or “cmg.” As drafted, the proposed subpoena would potentially implicate searching for

                                  15   and perhaps even producing information from innocent third parties unrelated to the Canadian

                                  16   lawsuit. The risk of misidentification of innocent parties and the disclosure of their personal

                                  17   messages or other information is thus exacerbated by the lack of definitional or narrowing

                                  18   information about Gervais and Roosen in the proposed subpoena. Thus, the proposed subpoena is

                                  19   not only unduly burdensome but also unduly intrusive, particularly with regard to the universe of

                                  20   innocent third parties whose information and data may be swept up by an overbroadly worded

                                  21   subpoena and resulting search.

                                  22          As a consequence, the breadth of the subpoena as drafted risks compelling Discord to embark

                                  23   on a potentially complex task of discerning the specific “Curtis Gervais” or “Rene Roosen”

                                  24   contemplated by the subpoena in order to filter out any false hits or misidentified persons. Thus,

                                  25   the subpoena as drafted risks imposing further undue burden on Discord both in its search for

                                  26   responsive documents and in its attempts to reasonably filter out the truly irrelevant misidentified

                                  27   information from the information on the specific Messrs. Gervais and Roosen actually of interest.

                                  28          Accordingly, the Court finds that application of this final Intel discretionary factor militates
                                                                                        17
                                         Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 18 of 33




                                   1   against approval of the proposed subpoena as presented to the Court. However, the Court finds that

                                   2   Applicants’ failure to satisfy this discretionary factor does not require a negative finding on the

                                   3   threshold issue of whether any discovery should be authorized in the first instance; rather this factor

                                   4   requires the Court to find that the proposed discovery, in its present form, should be modified

                                   5   because, as literally drafted, the proposed subpoena to Discord is overbroad, not narrowly tailored,

                                   6   unduly intrusive, and burdensome under the applicable legal standards. Therefore, the Court

                                   7   GRANTS-IN-PART Applicants’ application for leave to serve a document subpoena on Discord,

                                   8   and GRANTS Applicants leave to submit a revised subpoena as discussed further herein after

                                   9   appropriate meet and confer with Discord.

                                  10   III.   THE STORED COMMUNICATIONS ACT

                                  11          Even if Applicants satisfy the Section 1782 requirements, the Court may not grant the

                                  12   application if granting the application would cause a violation of the Stored Communications Act
Northern District of California
 United States District Court




                                  13   (“SCA”). Xie v. Lai, 2019 WL 7020340, at *5 (N.D. Cal. Dec. 20, 2019) (“It is well-established

                                  14   that civil subpoenas, including those issued pursuant to [Section] 1782, are subject to the

                                  15   prohibitions of the Stored Communications Act.”). On August 17, 2023, the Parties briefly

                                  16   presented arguments on the applicability of the SCA as the initial application did not contain any

                                  17   arguments on the applicability of the SCA. See Dkt. 1. At the Court’s request, the Parties submitted

                                  18   supplemental briefing on (A) whether passwords are afforded protections pursuant to the SCA and

                                  19   (B) whether Gervais has impliedly consented to the disclosure of his communications such that

                                  20   Discord may produce the communications pursuant to the issuance of the subpoena. [Dkts. 20–22].

                                  21          The Court finds these arguments are fit for determination without a hearing pursuant to this

                                  22   Court’s Civil Local Rule 7-1(b). For the reasons explained below, the Court finds passwords are

                                  23   afforded protection under the SCA and Gervais did not explicitly or implicitly consent to the release

                                  24   of the contents of his communications.

                                  25          A.      Whether Passwords are Afforded Protection Under the SCA.

                                  26          The SCA “prohibits electronic communication service providers from ‘knowingly

                                  27   divulg[ing] to any person or entity the contents of a communication while in electronic storage by

                                  28   that service.’” Obodai v. Indeed, Inc., No. 13-mc-80027-EMC, 2013 WL 1191267, at *2 (N.D. Cal.
                                                                                         18
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 19 of 33




                                   1   Mar. 21, 2013) (citing 18 U.S.C. § 2702(a)(1); Optiver Australia Pty. Ltd. & Anor. v. Tibra Trading

                                   2   Pty. Ltd. & Ors., No. 12-cv-80242-EJD (PSG), 2013 WL 256771 (N.D. Cal. Jan. 23, 2013)). The

                                   3   SCA incorporates the definition of “contents” from the Wiretap Act. In re Zynga Priv. Litig., 750

                                   4   F.3d 1098, 1105–06 (9th Cir. 2014) (citing 18 U.S.C. § 2711(1); 18 U.S.C. § 2510(8)). The SCA

                                   5   defines “contents” as “any information concerning the substance, purport, or meaning of [a]

                                   6   communication.” Id. The Zynga Court held the words “substance, purport, or meaning” carry their

                                   7   dictionary definitions which indicate that “Congress intended the word ‘contents’ to mean a person’s

                                   8   intended message to another.” Id. (the Zynga Court defines: “substance” as “the characteristic and

                                   9   essential part;” “purport” as “meaning conveyed, professed or implied;” and “meaning” as “the thing

                                  10   one intends to convey . . . by language[.]”) (citing Webster’s Third New International Dictionary

                                  11   1399, 1847, 2279 (1981))).

                                  12          The issue of discovery of electronic communications can implicate Fourth Amendment
Northern District of California
 United States District Court




                                  13   concerns. S. REP. 99-541, 2–3, 1986 U.S.C.C.A.N. 3555, 3556–57. “The SCA was enacted

                                  14   because the advent of the Internet presented a host of potential privacy breaches that the Fourth

                                  15   Amendment does not address.” Sams v. Yahoo! Inc., 713 F.3d 1175, 1179 (9th Cir. 2013) (citation

                                  16   omitted). However, often times the “existing statutory framework is ill-suited to address modern

                                  17   forms of communication[.]” Konop v. Hawaiian Airlines, Inc., 302 F.3d 868, 874 (9th Cir. 2001).

                                  18   “Courts have struggled to analyze problems involving modern technology within the confines of

                                  19   this statutory framework, often with unsatisfying results.” Id. (citations omitted).

                                  20          Applicants argue passwords are not afforded protection under the SCA because passwords

                                  21   should not be considered “content.” [Dkt. 21 at 5]. Discord argues passwords are implicitly

                                  22   included within the SCA’s prohibitions because passwords implicate communications. [Dkt. 21 at

                                  23   7; Dkt. 22 at 6–7]. In other words, Discord argues that passwords are “content “ under the SCA

                                  24   because they are “information concerning the substance, purport, or meaning” of a communication.

                                  25   For the reasons explained herein, the Court find passwords are content under SCA.

                                  26          The Court is faced with an issue of first impression regarding the bounds of the scope of the

                                  27   meaning of the word “content” in the SCA. While the SCA defines “contents” as “any information

                                  28   concerning the substance, purport, or meaning of [a] communication,” and the Zynga Court held the
                                                                                        19
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 20 of 33




                                   1   “Congress intended the word ‘contents’ to mean a person’s intended message to another” no court

                                   2   has apparently determined the scope of the phrase “information concerning” within the statute.

                                   3   Zynga, 750 F.3d at 1105–06; 18 U.S.C. § 2711(1); 18 U.S.C. § 2510(8).

                                   4          To determine the scope of what is considered “content” under the SCA, the Court must first

                                   5   determine Congress’s intended meaning of the words “information concerning.” See Zynga, 750

                                   6   F.3d at 1105–06. “In ascertaining the plain meaning of the statute, the court must look to the

                                   7   particular statutory language at issue, as well as the language and design of the statute as a whole.”

                                   8   Id. at 1105 (quoting K Mart Corp. v. Cartier, Inc., 486 U.S. 281, 291 (1988). “We start with the

                                   9   plain language of the statutes.” Zynga, 750 F.3d at 1105 (citing Gwaltney of Smithfield, Ltd. v.

                                  10   Chesapeake Bay Found., Inc., 484 U.S. 49, 56 (1987)). Because the term “information concerning”

                                  11   is not further defined within the statute, the Court considers the ordinary meaning of this term,

                                  12   including its dictionary definition. Zynga, 750 F.3d at 1105 (citing Wilderness Soc’y v. U.S. Fish &
Northern District of California
 United States District Court




                                  13   Wildlife Serv., 353 F.3d 1051, 1061 (9th Cir. 2003) (en banc), amended by 360 F.3d 1374 (9th Cir.

                                  14   2004) (en banc)). The Electronic Communications Privacy Act, which is related to both the Wiretap

                                  15   Act and the SCA, was promulgated in 1986. Zynga, 750 F.3d at 1106; In re Yahoo Mail Litig., 7 F.

                                  16   Supp. 3d 1016, 1026 (N.D. Cal. 2014) (discussing how the Wiretap Act and SCA are titles of the

                                  17   Electronic Communications Privacy Act). The Zynga Court utilized the 1981 edition of Webster’s

                                  18   Third New International Dictionary when defining “substance, purport, or meaning” because the

                                  19   dictionary was “in wide circulation during the relevant time frame.” Zynga, 750 F.3d at 1106. The

                                  20   1981 edition of Webster’s defines: (1) “information” as “the communication or reception of

                                  21   knowledge or intelligence,” Webster’s Third New International Dictionary 1160 (1981), and (2)

                                  22   “concerning” as “relating to,” id. at 470. These definitions indicate that Congress intended “content”

                                  23   to be broad because “content of a communication” necessarily encompasses “the communication or

                                  24   reception of knowledge or intelligence.” In other words, the definition of “content” is not narrow;

                                  25   rather, the definition broadly includes “the communication or reception of knowledge or

                                  26   intelligence” that is “relating to” “a person’s intended message to another (i.e., the ‘essential part’

                                  27   of the communication, the ‘meaning conveyed,’ and the ‘thing one intends to convey’).” Webster’s

                                  28   Third New International Dictionary 470, 1160 (1981); Zynga, 750 F.3d at 1106.
                                                                                         20
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 21 of 33




                                   1          The broad scope of “content” is further illuminated by the “language and design of the statute

                                   2   as a whole,” K Mart Corp., 486 U.S. at 291. The use of the word “any” modifying “information

                                   3   concerning” highlights Congress’s intent to have a broad definition of “content.” Republic of Iraq

                                   4   v. Beaty, 556 U.S. 848, 856 (2009) (interpreting the word “any” to have an “expansive meaning”

                                   5   when analyzing the phrase “any other provision of law” “giving us no warrant to limit the class of

                                   6   [things referenced].”); accord Am. C.L. Union Immigrants’ Rts. Project v. United States Immigr. &

                                   7   Customs Enf’t, 58 F.4th 643, 657 (2d Cir. 2023) (quoting Cohen v. JP Morgan Chase & Co., 498

                                   8   F.3d 111, 117 (2d Cir. 2007) (“[T]he statutory use of the word ‘any’ has long signaled ‘Congress’s

                                   9   intent to sweep broadly to reach all varieties of the item referenced.’”); Webster’s Third New

                                  10   International Dictionary 97 (1981) (defining “any” as “one, some, or all indiscriminately of

                                  11   whatever quantity[.]”). The context of the definition of “content” thus indicates that there exists an

                                  12   indiscriminate number of classes or varieties of “information” that constitute “content” so long as
Northern District of California
 United States District Court




                                  13   that “information” “concerns” or “relates to” a “person’s intended message to another.” Zynga, 750

                                  14   F.3d at 1105–06.

                                  15          The legislative history agrees with a broad interpretation of “content.” S. REP. 99-541, 2–

                                  16   3, 1986 U.S.C.C.A.N. 3555, 3556–57. Congress explained that the purpose of enacting the SCA

                                  17   was to protect individuals on the shortcomings of the Fourth Amendment. Id. Specifically,

                                  18   Congress enacted the SCA due to the “tremendous advances in telecommunications and computer

                                  19   technologies” with the “comparable technological advances in surveillance devices and techniques.”

                                  20   Id. The SCA was further meant to help “Americans [who] have lost the ability to lock away a great

                                  21   deal of personal and business information.” Id.

                                  22          With this analysis of the scope of the term “content” under the SCA in mind, the Court now

                                  23   turns to determine if passwords are afforded protection under the SCA under that understanding of

                                  24   the definition of the term “content.” Passwords are undoubtedly a form of “information.” And

                                  25   passwords broadly “relate to” (or are “concerning”) the “substance, purport, or meaning of [a]

                                  26   communication” even if passwords are not themselves the content of a communication. Passwords

                                  27   further relate to a person’s intended message to another; while a password is not the content of the

                                  28   intended message, a password controls a user’s access to the content or services that require the user
                                                                                         21
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 22 of 33




                                   1   to prove their identity. As a matter of technological access to an electronic message, a password

                                   2   thus “relates to” the intended message because without a password, the author cannot access their

                                   3   account to draft and send the message (and the user cannot access their account to receive and read

                                   4   the message). When a person uses a password to access their account to draft and send a message,

                                   5   that author inherently communicates to the recipient at least one piece of information that is essential

                                   6   to complete the communication process: namely, that the author has completed the process of

                                   7   authentication. The password is information or knowledge which is intended to convey a person’s

                                   8   claim of identity not just to the messaging system but also implicitly to the recipient. As such,

                                   9   within the context of electronic communication systems, passwords are a critical element because

                                  10   they convey an “essential part” of the communication with respect to access and security protocols.

                                  11   The dispute at issue here demonstrates the inherency of communicating about passwords when using

                                  12   a messaging platform such as Discord: when the user of the “Archetype” sent messages demanding
Northern District of California
 United States District Court




                                  13   ransom for the stolen source code, those messages conveyed to the recipients that the author is or

                                  14   was an authentic or authorized user of the “Archetype” account who used and had access to the

                                  15   password for that account. That password for that account thus is information concerning that

                                  16   communication, even if the password is not itself written out in the content directly.

                                  17          This holding is consistent with the context and purpose of the SCA. The SCA was

                                  18   promulgated to protect the content of a communication maintained within an “electronic storage.”

                                  19   18 U.S.C. § 2702. If this Court were to hold that passwords are not afforded SCA protections, such

                                  20   a ruling would otherwise create a perverse incentive which circumvents the protections of afforded

                                  21   by SCA. Contents of an electronic communication are stored as files within an electronic memory

                                  22   or storage device, which files are accessible because the person uses their password to access the

                                  23   account. There is no question that the contents of a communication stored within an electronic

                                  24   storage device are normally not accessible absent user consent. However, an opposing party in

                                  25   litigation could request production of a user’s and thereafter circumvent necessary user consent,

                                  26   under the assertion that they are not subject to protections of the SCA. With this password in hand,

                                  27   a litigant (or their ediscovery consultants) would have unfettered access to all communications

                                  28   within the account holder’s electronic storage, without regard to relevance, privilege, or other
                                                                                         22
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 23 of 33




                                   1   appropriate bounds of permissible discovery. In other words, litigants could circumvent the very

                                   2   purpose of the SCA by simply requesting that a service provider disclose the password for a user

                                   3   account, ultimately vitiating the protections of the SCA.

                                   4          This holding is consistent with the Ninth Circuit’s interpretation of the SCA. Theofel, 359

                                   5   F.3d at 1072. The Theofel Court explained:

                                   6                  Like the tort of trespass, the Stored Communications Act protects
                                                      individuals’ privacy and proprietary interests. The Act reflects
                                   7                  Congress’s judgment that users have a legitimate interest in the
                                                      confidentiality of communications in electronic storage at a
                                   8                  communications facility. Just as trespass protects those who rent
                                                      space from a commercial storage facility to hold sensitive documents,
                                   9                  [citation], the Act protects users whose electronic communications
                                                      are in electronic storage with an ISP or other electronic
                                  10                  communications facility.
                                  11   Id. at 1072–73 (citing Prosser and Keeton on the Law of Torts § 13, at 78 (W. Page Keeton ed., 5th

                                  12   ed. 1984)). The Theofel Court thus explained that the SCA should be examined under the common
Northern District of California
 United States District Court




                                  13   law tort of trespass. Theofel, 359 F.3d at 1073. The Theofel Court further noted that “Congress

                                  14   surely did not intend to exempt” a hacker’s use of a stolen password when breaking into a mail

                                  15   server by considering the use of a stolen password an “authorized” access of the mail server. Id.

                                  16   The Court looked to the “essential nature of the invasion.” Id. In this analytical context, Congress

                                  17   surely did not intent to create a law forbidding (by analogy) a bank from turning over the money in

                                  18   its vault but in the same stroke of its pen allowing the bank to turn over the vault key. Protecting

                                  19   passwords relates to the “essential nature of the invasion” here by protecting access to the contents

                                  20   of a communication within electronic storage. Accordingly, protecting passwords under the SCA

                                  21   promotes and relates to “the specific interests that the tort of trespass seeks to protect.” Id. (citing

                                  22   Desnick v. Am. Broad. Companies, Inc., 44 F.3d 1345, 1352 (7th Cir. 1995); Lewis v. United States,

                                  23   385 U.S. 206, 211 (1966); Food Lion, Inc. v. Capital Cities/ABC, Inc., 194 F.3d 505, 517–18 (4th

                                  24   Cir. 1999)). Thus, finding that passwords are “information” subject to the protections of the SCA

                                  25   protects individuals’ privacy and proprietary interests in their electronic communications, and

                                  26   furthers the legitimate interests that users have in the confidentiality of communications in electronic

                                  27   storage at a communications facility. Theofel, 359 F.3d at 1072.

                                  28          In arguing passwords are not afforded protections under the SCA, Applicants primarily rely
                                                                                         23
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 24 of 33




                                   1   on the holding of In re Carrier IQ, Inc., 78 F. Supp. 3d 1051, 1083–84 (N.D. Cal. 2015), which

                                   2   found passwords are not considered “content” in the context of a motion to dismiss for claims of

                                   3   violations of the Wiretap Act. [Dkt. 21 at 5]. However, Carrier is distinguishable and inapplicable

                                   4   to the instant application for a number of reasons explained below.

                                   5          First, Carrier’s holding is limited to the Wiretap Act. Carrier, 78 F. Supp. 3d at 1083–84.

                                   6   Cases which rely on Carrier likewise limit and apply their holdings to only the Wiretap Act. See

                                   7   Brodsky v. Apple Inc., No. 19-cv-00712-LHK, 2019 WL 4141936 (N.D. Cal. Aug. 30, 2019);

                                   8   Brodsky v. Apple Inc., 445 F. Supp. 3d 110 (N.D. Cal. 2020); Biesenbach v. Does 1-3, No. 21-cv-

                                   9   08091-DMR, 2022 WL 204358 (N.D. Cal. Jan. 24, 2022). While this Court acknowledges the

                                  10   Wiretap Act and the SCA utilize the same definition of “content,” this does not automatically

                                  11   indicate the definition is the same. “[A] statutory term may mean different things in different

                                  12   places[]” as “the presumption of consistent usage readily yields to context[.]” King v. Burwell, 576
Northern District of California
 United States District Court




                                  13   U.S. 473, 493 n.3 (2015) (citing Util. Air Regul. Grp. v. E.P.A., 573 U.S. 302, 320 (2014).

                                  14          Second, the context in which Carrier made its holding is materially different from the instant

                                  15   case. The Carrier opinion relied on the Ninth Circuit’s Zynga opinion. Carrier, 78 F. Supp. 3d at

                                  16   1083. In turn, Zynga cited with approval the First Circuit’s decision in Gilday v. Dubois, 124 F.3d

                                  17   277 (1st Cir. 1997). Zynga, 750 F.3d at 1106. In Gilday, a prisoner-plaintiff brought suit against a

                                  18   prison-defendant for alleged Wiretap Act violations stemming from the prison’s telephone

                                  19   monitoring system and “detailing” system. Gilday, 124 F.3d at 281. The “detailing” system

                                  20   recorded the prisoners’ dialed numbers, call duration, and PIN. Id. at 281, 296 n.27. The PIN was

                                  21   assigned to the specific prisoner and used to facilitate the phone call. Id. The Plaintiff relied on the

                                  22   prison’s interception of the PIN for the alleged Wiretap Act violation. Id. The First Circuit

                                  23   disagreed and found no Wiretap Act violation because the “detailing” procedure did not intercept

                                  24   content and “simply capture[d] electronic signals relating to the PIN of the caller, the number called,

                                  25   and the date, time and length of the call.” Id. at 296 n.27.

                                  26          In Carrier, the Court held that “the PIN number in Gilday served the same function as

                                  27   traditional username and password” because the PIN was meant for authentication purposes of

                                  28   accessing the phone system. Carrier, 78 F. Supp. 3d at 1084. Carrier further reasoned that “[j]ust
                                                                                         24
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 25 of 33




                                   1   as interception of the PIN number in [Gilday] was found to not implicate ‘content’ information,

                                   2   neither does interception of a user name or password. While such credentials may be a prerequisite

                                   3   to engaging in communications (i.e., entering a user name and password in order to access one’s

                                   4   email), the credentials themselves do not reveal the substance, purport, or meaning of any

                                   5   communication.” Id.

                                   6          The context is clear that Carrier’s limited holding does not extend to liability under the SCA.

                                   7   The Wiretap Act imposes liability based on the interception of the contents of a communication

                                   8   while in transit. Yahoo Mail Litig., 7 F. Supp. 3d at 1026 (“Title I of the ECPA amended the federal

                                   9   Wiretap Act to impose liability for the interception of certain electronic communications while they

                                  10   are in transit.”). The Wiretap Act is meant to protect individuals from their communications being

                                  11   intercepted while in transit. The Wiretap Act protects real-time or near-real-time electronic

                                  12   communications that are in the process of being sent, delivered, or received. The key aspect of
Northern District of California
 United States District Court




                                  13   transient communication subject to Wiretap Act protection is its ephemeral nature; such

                                  14   communication exists only briefly in a human-accessible form as it travels from sender to recipient.

                                  15   The Wiretap Act is designed to protect these in-transit communications, acknowledging that

                                  16   individuals have a reasonable expectation of privacy in their conversations as they occur.

                                  17          By contrast, the SCA imposes liability on service providers’ knowingly divulging the

                                  18   contents of a communication in an electronic storage. Compare 18 U.S.C. § 2511 with 18 U.S.C.

                                  19   § 2702. Under the SCA, liability is thus imposed when the content of a communication, stored in

                                  20   an electronic storage, is knowingly divulged. 18 U.S.C. § 2702. The content of a communication

                                  21   subject to protections of the SCA are by definition not transient or ephemeral; because the SCA

                                  22   deals with storage, the content of a communication can later be accessed, potentially for an indefinite

                                  23   period. As such, these stored communications can be repeatedly and more readily accessed unlike

                                  24   transient communications under the Wiretap Act.

                                  25          Finally, Gilday is materially different from the instant case. In Gilday, the prison did not

                                  26   obtain the content of a communication by intercepting prisoners’ PIN. Gilday, 124 F.3d at 281, 296

                                  27   n.27. Indeed, the contents of the communication in Gilday were the words spoken into or heard by

                                  28   the phone; the phone conversation was completely separate from the PIN. Id. Because the other
                                                                                         25
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 26 of 33




                                   1   party to the phone call need never be told that the prisoner must use a PIN to access the phone line,

                                   2   there is no inherent communication concerning the PIN in a phone call (again, unlike stored

                                   3   electronic communications, which inherently reveal information about the account user). Unlike

                                   4   under the SCA, in Gilday there existed no informational nexus or relation between the PIN and the

                                   5   phone conversation.

                                   6          This issue exemplifies the second problem applying Carrier’s holding to the SCA. The

                                   7   Wiretap Act’s factual patterns are materially distinct from SCA fact patterns. In Gilday, the PIN

                                   8   functioned more as a username rather than a password. Gilday, 124 F.3d at 281, 296 n.27 (the call

                                   9   detailing system “captures electronic signals relating to the PIN of the caller, the number called, and

                                  10   the date, time and length of the call”). The PIN was a prisoners’ specific identification number that

                                  11   allowed them access to the telephone. Id. The information yielded from the interception of the PIN

                                  12   would be the identification of the specific individual who was tied to that number, nothing more.
Northern District of California
 United States District Court




                                  13   Additionally, given the ephemeral nature of phone calls, there was no risk that the contents of the

                                  14   communication could be later accessed after the interception of the PIN.

                                  15          If an electronic communication service provider discloses a users’ username and password

                                  16   to a third party, the electronic communication service provider would know they are ultimately

                                  17   disclosing the contents of the communication because that third party could then access the full

                                  18   contents of the stored communication using the username and password. Functionally, by disclosing

                                  19   a password as requested here, Discord would divulge information which it knows will allow third

                                  20   parties to access the contents of all communications in the listed user accounts.           The only

                                  21   conceivable use for the passwords here is for Applicants to access the requested accounts (such as

                                  22   “Archetype”) and view the contents of all electronically stored communications in those requested

                                  23   accounts.   Indeed, as the discussion of the Anton Pillar Order proceedings above indicate,

                                  24   Applicants’ consultant Warren asked for and use the usernames and passwords of Gervais’s

                                  25   accounts to access the information therein.

                                  26          Accordingly, this Court find that passwords are afforded protections under the SCA.

                                  27   However, this does not end the dispute. The Court next address whether Gervais consented to the

                                  28   disclosure of the content of his communications.
                                                                                         26
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 27 of 33




                                   1            B.     Whether Gervais Consented.

                                   2            The SCA allows a provider of covered services to “divulge the contents of a communication”

                                   3   to “an addressee or intended recipient of such communication,” or “with the lawful consent of the

                                   4   originator or an addressee or intended recipient of such communication, or the subscriber in the case

                                   5   of remote computing service.” Zynga, 750 F.3d at 1104 (quoting 18 U.S.C. § 2702). The SCA does

                                   6   not define “lawful consent” or describe how it may be established. In re JSC Com. Bank Privatbank,

                                   7   No. 21-mc-80216-VKD, 2021 WL 4355334, at *5 (N.D. Cal. Sept. 24, 2021).                    However,

                                   8   “exceptions to the SCA are to be construed narrowly.” Suraju v. Yahoo!, Inc., No. 22-mc-80072-

                                   9   SK, 2022 WL 3365086, at *4 (N.D. Cal. July 13, 2022), appeal dismissed, No. 22-16231, 2022 WL

                                  10   18671555 (9th Cir. Dec. 14, 2022) (citing Suzlon Energy Ltd. V. Microsoft Corp., 671 F.3d 726, 730

                                  11   (9th Cir. 2011)).

                                  12            “Courts have cautioned that implied consent applies only in a narrow set of cases.” Calhoun
Northern District of California
 United States District Court




                                  13   v. Google LLC, 526 F. Supp. 3d 605, 623 (N.D. Cal. 2021) (quoting In re Google, Inc., 2013 WL

                                  14   5423918, at *12 (N.D. Cal. Sept. 26, 2013). “[W]hile consent may permit production by a provider,

                                  15   it may not require such a production.” In re Facebook, Inc., 923 F. Supp. 2d 1204, 1206 (N.D. Cal.

                                  16   2012) (citing United States v. Rodgers, 461 U.S. 677, 706 (1983) (“The word ‘may,’ when used in

                                  17   a statute, usually implies some degree of discretion.”) (emphasis in original). The party seeking the

                                  18   benefit of the exception has the burden to prove consent. Calhoun, 526 F. Supp. 3d at 620 (quoting

                                  19   Matera v. Google Inc., No. 15-cv-04062-LHK, 2016 WL 5339806, at *17 (N.D. Cal. Sept. 23,

                                  20   2016).

                                  21            The Northern District of California has found consent may be explicit or implied, but

                                  22   requires the consent be actual. Calhoun, 526 F. Supp. 3d at 620 (quoting In re Google, 2013 WL

                                  23   5423918, at *12). “Thus, ‘a reviewing court must inquire into the dimensions of the consent and

                                  24   then ascertain whether the interception exceeded those boundaries.’” Calhoun, 526 F. Supp. 3d at

                                  25   623 (quoting In re Pharmatrak, Inc., 329 F.3d 9, 19 (1st Cir. 2003)).

                                  26            Both Parties agree Gervais did not explicitly consent to Discord knowingly “divulge the

                                  27   contents of a communication.” See Dkt 21. The Parties disagree on whether Gervais implicitly

                                  28   consented to the disclosure of the content of his communications.          See id.   Applicants cite
                                                                                        27
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 28 of 33




                                   1   circumstantial evidence that purportedly shows Gervais’s consent. Specifically, Applicants rely on

                                   2   the fact that Gervais was on notice that his Discord communications were ordered to be collected

                                   3   by the Canadian Court; Gervais consented to the search of his devices which would provide access

                                   4   to his Discord communications in the Canadian Litigation; and Gervais actively participated in the

                                   5   collection of his data in the Canadian Litigation. Id. at 6.

                                   6          Discord argues that any judicial decree stemming from the Canadian Litigation is

                                   7   inapplicable because the judicial decree does not indicate Gervais actually consented; rather, the

                                   8   judicial decree is an order from the court for which Gervais may still preserve objections and may

                                   9   not consent to. Additionally, Discord argues Applicants’ support for Gervais’s consent is flawed

                                  10   because the support comes from Mr. Warren’s affidavit, a secondhand account, rather than Gervais

                                  11   himself. Further, Discord argues Gervais’s actions indicate he does not consent. For example,

                                  12   Discord argues Mr. Warren’s affidavit details “various instances of delay tactics, lack of
Northern District of California
 United States District Court




                                  13   cooperation, and outright obstruction.” [Dkt. 21 at 9 (citing Dkt. 1-2 at 3 (“Gervais … ha[s] not

                                  14   rendered the ‘necessary assistance’ required” under the Anton Piller order such that Warren “ha[s]

                                  15   been frustrated by Gervais in [Warren’s] efforts to preserve data”), 5 (expressing concern that

                                  16   Gervais would delete or alter information though he allowed the search), 8 (Gervais failing to

                                  17   respond to Warren’s attempts to access password repository and that “Gervais had booby-trapped

                                  18   his own . . . account”), 11 (finding Gervais’s explanations “not credible” in part because Gervais

                                  19   continued to access Discord), 12 (Gervais used a hotkey in Warren’s presence to delete email

                                  20   account data), 12–13 (recounting Gervais’s misrepresentations concerning his access to Discord).)].

                                  21          The Court finds that Gervais’s actions, as presented on the current record, fail to show that

                                  22   he did implicitly consent to Discord disclosing the contents of his communications. First, the mere

                                  23   fact Gervais is on notice of his obligation under the Canadian Orders does not indicate his consent

                                  24   to the disclosure of the contents of his communications. Indeed, the fact that he was ordered by the

                                  25   Canadian court to allow searches and inspections of his electronic devices indicates he opposed such

                                  26   disclosures and would not allow them voluntarily (otherwise, there would be no need for an order

                                  27   from the Canadian court).

                                  28          Secondly, a Court order to produce the communication subject to a judicial decree stemming
                                                                                         28
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 29 of 33




                                   1   from the Canadian Litigation does not amount to Gervais consenting to Discord disclosing the

                                   2   content of the communication. Instructive is the Ninth Circuit’s analysis in Suzlon, 671 F.3d at 731,

                                   3   where the court explained that compliance with foreign civil litigation rules does not amount to

                                   4   implied consent. In that case, the party seeking a finding of implied consent, Suzlon, argued that

                                   5   “under Australian civil litigation rules, a litigant is obligated to list and disclose documents that

                                   6   would include the emails at issue,” but the Ninth Circuit indicated this obligation does not amount

                                   7   to implied consent. Id. Rather, the Court stated the Australian civil litigation rules required “Sridhar

                                   8   himself . . . be responsible for disclosing [the content of the communications,]” not the non-party

                                   9   Microsoft, Corp. Id.

                                  10          Furthermore, Gervais’s actions detailed in Mr. Warren’s affidavit indicate that he does not

                                  11   implicitly consent to the production of the contents of his communications. The “various instances

                                  12   of delay tactics, lack of cooperation, and outright obstruction[]” highlighted by Discord indicate
Northern District of California
 United States District Court




                                  13   Gervais would not consent to the production of the content of the communications on Discord. See

                                  14   Dkt. 21 at 9 (citing Dkt. 1-2 at 3 (“Gervais … ha[s] not rendered the ‘necessary assistance’ required”

                                  15   under the Anton Piller order such that Warren “ha[s] been frustrated by Gervais in [Warren’s] efforts

                                  16   to preserve data”), 5 (expressing concern that Gervais would delete or alter information though he

                                  17   allowed the search), 8 (Gervais failing to respond to Warren’s attempts to access password

                                  18   repository and that “Gervais had booby-trapped his own . . . account”), 11 (finding Gervais’s

                                  19   explanations “not credible” in part because Gervais continued to access Discord), 12 (Gervais used

                                  20   a hotkey in Warren’s presence to delete email account data) 12–13 (recounting Gervais’s

                                  21   misrepresentations concerning his access to Discord)). While such tactics by Gervais may be

                                  22   improper under Canadian law (and presumably will be addressed by the Canadian Court), for

                                  23   purposes of the implied consent analysis here, those actions support a conclusion that Applicants

                                  24   failed to satisfy their burden of showing that Gervais implicitly consented to disclosure of his

                                  25   communications. Therefore, in light of the above analysis, the Court finds that Gervais has not

                                  26   consented either expressly or impliedly to the disclosure of the contents of his communications,

                                  27   including in particular the passwords to his accounts.

                                  28
                                                                                         29
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 30 of 33




                                   1   IV.    APPOINTMENT OF SECTION 1782 COMMISSIONER

                                   2          The Court next addresses Applicants’ ancillary request to appoint Mr. Warren as

                                   3   “Commissioner” for the purpose of issuing the subpoena and receiving the documents and materials

                                   4   in response thereto. [Dkt. 1 at 14]. Whether to appoint a Commissioner, and determining the

                                   5   qualifications of any potential Commissioner, is a multi-factor analysis. See United States v. Google

                                   6   LLC, -- F.Supp.3d --, 2023 WL 5725518 (N.D. Cal. Sept. 5, 2023). However, in subsequent

                                   7   briefing, Applicants and Discord have stipulated that a “commissioner does not need to be appointed

                                   8   in this matter.” [Dkt. 20 at 2]. Therefore, Applicants’ initial request for appointment of a

                                   9   Commissioner is DENIED as moot.

                                  10   V.     PROTECTIVE ORDER

                                  11          Courts have discretion to issue a protective order for “good cause” in order to “protect a

                                  12   party or person from annoyance, embarrassment, oppression, or undue burden or expense[.]” Fed.
Northern District of California
 United States District Court




                                  13   R. Civ. P. 26(c). To establish “good cause,” there must be a demonstration of specific prejudice or

                                  14   harm that would result from the absence of a protective order. Phillips ex rel. Ests. of Byrd v.

                                  15   General Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir. 2002). “[B]road allegations of harm,

                                  16   unsubstantiated by specific examples or articulated reasoning, do not satisfy the Rule 26(c) test [for

                                  17   good cause].” Beckman Indus. v. Int’l Ins. Co., 966 F.2d 470, 476 (9th Cir. 1992).

                                  18          Here, good cause exists to protect the privacy and rights of the persons whose information,

                                  19   messages, and documents may be produced by Discord in response to an appropriate subpoena. As

                                  20   noted, the proposed subpoena is broadly drafted, and therefore documents, messages, and

                                  21   information produced in response to the requested subpoena may not lead to Gervais and Roosen.

                                  22   Accordingly, it is necessary to protect the rights of any potential and innocent third parties. See,

                                  23   e.g., Strike 3 Holdings, LLC v. Doe, No. 23-cv-01985-AMO, 2023 WL 3483288, at *2 (N.D. Cal.

                                  24   May 15, 2023). The Court takes Judicial Notice of the fact Discord is a messaging platform which

                                  25   allows minor children to utilize the service. See Discord’s Terms of Service, (Feb. 24, 2023),

                                  26   https://discord.com/terms#2 (last visited Aug. 14, 2023) (Section 2 indicating individuals must be

                                  27   thirteen years or older to utilize Discord’s service.). Indeed, it appears that Discord is a messaging

                                  28   platform which is popular with young people playing online video games. See Kellen Browning, 5
                                                                                        30
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 31 of 33




                                   1   Ways    Young    People    Are    Using    Discord,    New     York    Times    (Dec.    29,   2021),

                                   2   https://www.nytimes.com/2021/12/29/business/discord-users-gen-z.html (last visited Aug. 15,

                                   3   2023) (“Discord, the online messaging platform, has long been popular with gamers. . . . The site

                                   4   is particularly popular with young adults, teenagers and almost-teenagers.”). Because information,

                                   5   messages, and documents involving minors may be implicated (whether inadvertently or because

                                   6   the subpoena is broadly drafted) by the discovery sought, the Court finds that specific potential harm

                                   7   to minors should be addressed, as well as the annoyance, embarrassment, and undue burden suffered

                                   8   by any innocent third parties (whether minors or not) should their private messages be publicly

                                   9   produced by Discord with no confidentiality or other protections.

                                  10          After reviewing Applicants’ and Discord’s stipulated protective order, [Dkt. 19], the Court

                                  11   finds that good cause exists to GRANT the stipulated protective order to handle the confidential

                                  12   treatment of confidential documents, information, messages, or data produced by Discord in
Northern District of California
 United States District Court




                                  13   response to an appropriately framed subpoena.

                                  14   VI.     MISCELLANEOUS

                                  15          Following oral argument and subsequent supplemental briefing, two issues remain regarding

                                  16   the issuance of the subpoena. [Dkt. 20]. First, whether a litigation hold should be implemented

                                  17   pausing any of Discord’s routine deletion procedures, notwithstanding Discord’s preservation of all

                                  18   responsive accounts. Id.

                                  19          Discord stated it “has preserved all accounts it could identify based on the information

                                  20   provided by Applicants, to the extent any exist.” [Dkt. 21 at 10]. Discord avers it created a

                                  21   “snapshot” of the accounts, and thereby preserved any information in those accounts. Id. Applicants

                                  22   imply, without explanation, Discord created one “snapshot” subject to the information Applicants

                                  23   gave Discord on August 17, 2023, and Discord will create another “snapshot” at the time of

                                  24   production. [Dkt. 22 at 8 n.4].

                                  25          Applicants explain their concern that, “[i]f Gervais or Roosen engaged in further

                                  26   communications, create new aliases, or otherwise, between August 17, 2023 and the time of

                                  27   production, and Discord’s routine deletion procedures are not halted, evidence of those

                                  28   communications and aliases could be lost forever.” Id.
                                                                                        31
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 32 of 33




                                   1           Discord’s only obligation is to preserve accounts that it is able to identify based on the

                                   2   information that it has been provided by Applicants. Other than speculation, Discord has failed to

                                   3   show what new aliases or accounts Gervais or Roosen would utilize because (as noted above)

                                   4   Applicants provided Discord with no identifiable information for Gervais and Roosen other than

                                   5   their names. Applicants’ failure to provide insufficient information associated with potential other

                                   6   accounts Gervais and Roosen may be using is not a sufficient basis to require Discord to halt all

                                   7   routine deletion procedures for an unknown number of other accounts, particularly where Discord

                                   8   has taken reasonable steps to preserve data in the accounts which were adequately identified.

                                   9           Accordingly, the Court GRANTS-IN-PART Applicant’s request for a litigation hold.

                                  10   Discord is ORDERED to preserve the data and communications in all accounts relating to Gervais

                                  11   and Roosen which Discord previously identified based on the information provided by Applicants,

                                  12   to the extent any exist, until the production of the information subject to the subpoena. Further,
Northern District of California
 United States District Court




                                  13   Discord is ORDERED to exempt the preserved accounts from deletion policies or other routine

                                  14   retention policies.

                                  15           The final remaining issue is whether Discord can be prevented from notifying Gervais of the

                                  16   instant subpoena. Applicants seek “a brief non-disclosure order preventing Discord from disclosing

                                  17   the collection of Gervais’s communications[.]” [Dkt. 21 at 3]. Applicants acknowledge “non-

                                  18   disclosure orders, in the context of a civil subpoena, have not been addressed in the Ninth Circuit”

                                  19   nor in this Court. Id. (citing 18 U.S.C. § 2703). Applicants base their argument for the non-

                                  20   disclosure order on the risk of spoliation by Gervais. However, this risk is at best speculative and

                                  21   is mitigated because Discord has already taken snapshots of the accounts, and Discord going forward

                                  22   is required to abide by this Court’s ORDER to preserve all accounts it could identify based on the

                                  23   information provided by Applicants, to the extent any exist, until the production of the information

                                  24   subject to the subpoena. As such, Applicants’ request is DENIED WITHOUT PREJUDICE as

                                  25   moot.

                                  26

                                  27

                                  28
                                                                                       32
                                        Case 3:23-mc-80148-PHK Document 23 Filed 11/22/23 Page 33 of 33




                                   1                                           CONCLUSION
                                   2          In view of the foregoing, the Court GRANTS-IN-PART Applicant’s application and grants

                                   3   leave for Applicants to serve an appropriate subpoena for documents on Discord but DENIES-IN-

                                   4   PART WITHOUT PREJUDICE the application to the extent that the proposed subpoena

                                   5   submitted to the Court requires modification for the reasons stated herein, including with regard to

                                   6   the Court’s finding that passwords are subject to the protections of the SCA here. The Parties are

                                   7   hereby ORDERED to meet and confer promptly to prepare a mutually agreeable subpoena for

                                   8   documents which is consistent with the Court’s rulings herein. If Applicants and Discord are able

                                   9   to reach agreement, they shall submit a Stipulation with Proposed Revised Subpoena to the Court

                                  10   within thirty (30) days of entry of this Order. If Applicants and Discord are unable to reach

                                  11   agreement on a revised subpoena, within thirty (30) days of entry of this Order they shall each file

                                  12   a brief no longer than three pages explaining their positions on areas of disagreement and attaching
Northern District of California
 United States District Court




                                  13   their respective proposed revised subpoenas.

                                  14          The Court DENIES AS MOOT Applicants’ request for appointment of a Commissioner.

                                  15   [Dkt. 1 at 14].

                                  16          The Court further hereby GRANTS Applicants’ and Discord’s stipulated protective order.

                                  17   [Dkt. 19].

                                  18           The Court GRANTS-IN-PART Applicants’ request for a litigation hold as discussed

                                  19   above. [Dkt. 20].

                                  20          The Court DENIES WITHOUT PREJUDICE Applicants’ request for a brief

                                  21   nondisclosure order with regard to Gervais. [Dkt. 21].

                                  22

                                  23          IT IS SO ORDERED.

                                  24   Dated: November 22, 2023

                                  25

                                  26
                                                                                                   PETER H. KANG
                                  27                                                               United States Magistrate Judge
                                  28
                                                                                       33
